     Case 4:17-cv-03909 Document 1 Filed in TXSD on 12/29/17 Page 1 of 10



                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

DISH NETWORK L.L.C.,                      §
                                          §         Civil Action No.
                                          §
               Plaintiff,                 §
        v.                                §
                                          §
MO’ AYAD AL ZAYED TRADING EST., §
and MO’ AYAD FAWZI AL ZAYED,              §
individually and collectively d/b/a Tiger §
International Company, and                §
SHENZHEN TIGER STAR                       §
ELECTRONICAL CO., LTD., a/k/a             §
Shenzhen Tiger Star Co., Ltd., and        §
LIU FANGFANG,                             §
                                          §
               Defendants.                §
                                          §

                                         COMPLAINT

       Plaintiff DISH Network L.L.C. (“DISH”) brings this suit against Defendants Mo’ Ayad Al

Zayed Trading Est., and Mo’ Ayad Fawzi Al Zayed, individually and collectively d/b/a Tiger

International Company, and Shenzhen Tiger Star Electronical Co., Ltd., a/k/a Shenzhen Tiger Star

Co., Ltd., and Liu Fangfang (collectively, “Defendants”), and states as follows:

                                      Nature of the Action

       1.      DISH brings this suit for copyright infringement because Defendants are capturing

broadcasts of television channels exclusively licensed to DISH and are unlawfully retransmitting

these channels over the Internet to their customers throughout the United States, 24 hours per day,

7 days per week. Defendants profit from the scheme by selling set-top boxes and corresponding

service plans to access the unlawful retransmission of television channels, and charge

approximately $149 to $179 per unit including a one-year service plan. Defendants are not

authorized by DISH to retransmit these channels, and DISH has not received any compensation

from Defendants. Defendants continue to infringe DISH’s copyrights despite receiving numerous
      Case 4:17-cv-03909 Document 1 Filed in TXSD on 12/29/17 Page 2 of 10



demands to cease retransmitting the channels, demonstrating the willfulness of their copyright

infringement.

                                               Parties

       2.       Plaintiff DISH Network L.L.C. is a limited liability company organized under the

laws of the State of Colorado, with its principal place of business located at 9601 South Meridian

Blvd., Englewood, Colorado 80112.

       3.       Defendant Mo’ Ayad Al Zayed Trading Est., d/b/a Tiger International Company

(“Tiger International”) is a Jordan corporation, with its principal place of business located at

Abdullah Gosheh St., Building No. 38, Al Hussaini Commercial Complex, Amman 11814, Jordan.

       4.       Upon information and belief, Defendant Mo’ Ayad Fawzi Al Zayed (“Zayed”) is a

natural person that resides in Amman, Jordan. Upon information and belief, Zayed is the executive

director, general manager, and sole shareholder of Tiger International. Upon information and

belief, Zayed authorized, controlled, participated in, and received direct financial benefits from the

infringing activities of Defendants.

       5.       Defendant Shenzhen Tiger Star Electronical Co., Ltd., a/k/a Shenzhen Tiger Star

Co., Ltd. (“Shenzhen Tiger Star”) is a China limited liability company, registration number

91440300349781364B, with its principal place of business located at 3E015, 3rd Floor, Hualijia

Electronical Market, Exchange Square, No. 5 Huanan City, Pinghu Subdistrict, Longgang District,

Shenzhen, Guangdong Province, China.

       6.       Upon information and belief, Defendant Liu Fangfang (“Fangfang”) is a natural

person that resides in Shenzhen, China. Fangfang is the executive director, general manager, legal

representative, and sole shareholder of Shenzhen Tiger Star.         Upon information and belief,




                                                 2
      Case 4:17-cv-03909 Document 1 Filed in TXSD on 12/29/17 Page 3 of 10



Fangfang authorized, controlled, participated in, and received direct financial benefits from the

infringing activities of Defendants.

        7.      Upon information and belief, each of the Defendants was the agent and/or principal

for one another, was acting within the scope of such agency when engaging in the misconduct

alleged herein, and is jointly and severally liable for all damages arising as a result thereof.

                                       Jurisdiction and Venue

        8.      DISH asserts claims under the Copyright Act, 17 U.S.C. § 101 et seq. This Court

has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338.

        9.      Personal jurisdiction over Defendants is proper in this Court because they

purposefully directed their conduct towards and purposefully availed themselves of the privileges

of conducting business activities within the State of Texas by retransmitting channels exclusively

licensed to DISH and supplying and offering to supply set-top boxes and corresponding service

plans to access the unlawful retransmission of television channels to customers in the State of Texas

and the Southern District of Texas, causing injury to DISH in this State and in this District. In the

alternative, personal jurisdiction is proper pursuant to Rule 4(k)(2) of the Federal Rules of Civil

Procedure because this Court’s exercise of jurisdiction is consistent with the Constitution and laws

of the United States, DISH’s claims arise under federal law, and Defendants are not subject to the

jurisdiction of the courts of general jurisdiction of any state.

        10.     Venue is proper in this Court under 28 U.S.C. § 1391(c)(3) because Defendants are

nonresidents that may be sued in any judicial district. Venue is also proper in this Court under 28

U.S.C. § 1400(a) because the case involves violations of the Copyright Act.




                                                   3
      Case 4:17-cv-03909 Document 1 Filed in TXSD on 12/29/17 Page 4 of 10



                                        DISH’s Copyrights

       11.     DISH is the fourth largest pay-television provider in the United States and delivers

copyrighted programming to millions of subscribers nationwide by means of satellite delivery and

over-the-top (“OTT”) services whereby programming is delivered using a public Internet

infrastructure. DISH’s subscribers enjoy access to hundreds of video and audio channels, including

a diverse line-up of international channels.

       12.     DISH contracts for and purchases rights for the international channels distributed on

its platform from networks and their agents, including MBC FZ LLC, International Media

Distribution (Luxembourg) S.A.R.L., World Span Media Consulting, Inc., Peninsula Production

Company, and Dream Media (collectively, the “Networks”). Networks’ Arabic-language channels,

which are also distributed abroad, include Al Arabiya, Al Hayah 1, Al Jazeera Arabic News, Al

Jazeera Mubasher, Al Nahar, Al Nahar Drama, Al Nahar Sport, ART Cinema, Dream 2, Future TV,

Hekayat, Iqraa, LBC, LDC, MBC1, MBC Drama, MBC Kids (a/k/a MBC3), MBC Masr, Melody

Classic, Murr TV (aka MTV Lebanon), NBN, New TV (a/k/a Al Jadeed), Noursat, ONTV, and

OTV (collectively, the “Protected Channels”). Networks acquire copyrights in the works that air

on their respective channels, including by producing the works and by assignment.

       13.     DISH entered into signed, written agreements with Networks, which were in effect

at all relevant times and are currently in effect, granting DISH the exclusive right to distribute and

publicly perform the works that air on the Protected Channels in the United States by means

including satellite, OTT, Internet protocol television (“IPTV”), and Internet. Eight or more works

that aired on the Protected Channels and have or will have registrations pending with the United

States Copyright Office include episodes of News Bulletin, Hashtag, Sada Al Malaeb, Bab Al Hara,




                                                 4
      Case 4:17-cv-03909 Document 1 Filed in TXSD on 12/29/17 Page 5 of 10



Chef Hassan, and Tasali Ahla Alam. A vast number of additional, unregistered copyrighted works

also aired on the Protected Channels.

                              Defendants’ Copyright Infringement

       14.     Upon information and belief, Defendants own and operate a streaming television

service (“the Service”). Defendants at times refer to the Service as “Tiger Star,” and may use other

names or labels to refer to the Service. Upon information and belief, Zayed is the founder of Tiger

International Company and together they established the Service and branch offices including

Shenzhen Tiger Star. Upon information and belief, Defendants each play a role in the manufacture,

operation, and distribution of the Service.

       15.     Defendants are unlawfully retransmitting the Protected Channels to their customers

in the United States through the Service. The Protected Channels were observed during testing of

the Service. The Protected Channels are also identified in the user interface that viewers navigate

when accessing content on the Service.

       16.     Defendants retransmit the Protected Channels over the Internet to users after the

original authorized transmission. Upon information and belief, Defendants capture live broadcast

signals of the Protected Channels, transcode these signals into a format useful for streaming over

the Internet, transfer the transcoded content to one or more servers provided, controlled, and

maintained by Defendants, and then transmit the Protected Channels to users of the Service through

OTT delivery, including users in the United States.

       17.     For instance, Defendants made a post on their Facebook page located at

https://www.facebook.com/MR.ABU.TIGER/ claiming they provide “a world full of entertainment




                                                5
      Case 4:17-cv-03909 Document 1 Filed in TXSD on 12/29/17 Page 6 of 10



and pleasure Enjoy all the programs, stations Arab, international, the latest movies and watched the

most powerful sporting championships in the world on the best servers with the best quality.”




       18.     Defendants also made a post on their Facebook page stating, “If you want to watch

the most important and powerful Sports Championships and enjoy the latest and world movies and

Arabic movies, plus a large office for Arab and foreign children’s programs; all you have to do is

get #tiger _Z400_PRO” using the best server in the world.




                                                6
      Case 4:17-cv-03909 Document 1 Filed in TXSD on 12/29/17 Page 7 of 10



       19.     Any member of the public with Internet access, including those located throughout

the United States, can receive Protected Channels from Defendants by simply purchasing the set-

top box.

       20.     Defendants sell the set-top boxes at https://tigerstar.en.alibaba.com (“Tiger Star

Alibaba”) for approximately $149 to $179 depending on the model purchased, and which includes

one-year of access to the Service.

       21.     Upon information and belief, purchasers of Defendants’ set-top boxes who want to

continue to receive the Protected Channels after the first year must purchase a one-year service plan

extension from Defendants. Defendants sell these service plan extensions on Tiger Star Alibaba

for approximately $60.00 to $80.00.

       22.     Defendants promote their set-top boxes at www.tiger-sat.com (“Tiger-sat.com”),

http://tigerbox.org (“Tigerbox.org”), and http://tiger-sat.net (“Tiger-sat.net”).

       23.     Defendants have actual knowledge that the retransmission of the Protected Channels

on the Service infringes DISH’s copyrights. DISH and Networks sent at least twenty-nine (29)

notices of infringement between May 9, 2017 and the filing of this Complaint, demanding that

Defendants cease retransmitting the Protected Channels identified in the notices. Defendants did

not respond to any of these notices of infringement.

       24.     DISH and Networks sent at least twenty-two (22) additional notices requesting the

removal of infringing content to Internet service providers associated with the Service from May 9,

2017 to the filing of this Complaint. Upon information and belief, at least some of these notices

were forwarded to Defendants.         Even when these Internet service providers removed the

unauthorized content based on Defendants’ copyright infringements, Defendants intentionally




                                                  7
      Case 4:17-cv-03909 Document 1 Filed in TXSD on 12/29/17 Page 8 of 10



interfered with the takedown efforts by, for example, transmitting Protected Channels from

different locations.


                                     CLAIMS FOR RELIEF

                                               Count I

                       Direct Copyright Infringement Under 17 U.S.C. § 501

       25.     DISH repeats and realleges the allegations in paragraphs 1-24.

       26.     Under 17 U.S.C. § 106, DISH holds the exclusive right to distribute and publicly

perform in the United States, by means including satellite, OTT, IPTV, and Internet, the programs
shown on the Protected Channels.

       27.     The programs that make up the Protected Channels are original audiovisual works

fixed in a tangible medium of expression, and are therefore copyrightable subject matter. DISH’s

copyrights in these programs arise under laws of nations other than the United States that are parties

to copyright treaties with the United States, including the United Arab Emirates, Qatar, Egypt, and

Lebanon, where the programs were authored and first published. Under 17 U.S.C. §§ 101, 411, the

programs that make up the Protected Channels are non-United States works and registration with

the United States Copyright Office is not a prerequisite to filing a copyright infringement action

with respect to these works.

       28.     Defendants distribute and publicly perform the copyrighted programs that air on the

Protected Channels to customers throughout the United States, including through the use of the

Service, in violation of DISH’s exclusive rights under 17 U.S.C. § 106. DISH has not authorized

Defendants to distribute or publicly perform these programs in any manner.

       29.     Defendants are directly infringing DISH’s copyrights in violation of 17 U.S.C. §

501. Each infringement of DISH’s rights in each audiovisual work constitutes a separate and

distinct act of copyright infringement.

       30.     Defendants’ acts are willful, malicious, intentional, purposeful, and in disregard of
and with indifference to the rights of DISH.


                                                 8
      Case 4:17-cv-03909 Document 1 Filed in TXSD on 12/29/17 Page 9 of 10




       31.     Unless enjoined by the Court, Defendants will continue to engage in acts causing

substantial and irreparable injury to DISH that includes damage to its reputation, goodwill, and lost

sales, for which there is no adequate remedy at law.

                                     PRAYER FOR RELIEF

       WHEREFORE, DISH prays for judgment against Defendants as follows:

       A.      For a grant of permanent injunctive relief under 17 U.S.C. § 502 restraining and

enjoining Defendants, and any of their officers, agents, servants, employees, attorneys, or other

persons acting in active concert or participation with any of the foregoing that receives actual notice

of the order, from:

                1.     retransmitting, streaming, distributing, or publicly performing in the United

States, by means of the Service or any other device or process, the Protected Channels or the

programming that comprises the Protected Channels;

               2.      distributing, providing, or promoting any product or service, including set-

top boxes or the Service, that comprises the whole or part of a network or service for the

distribution or public performance of the Protected Channels or the programming that comprises

the Protected Channels; and

               3.      advertising, displaying, or marketing the Service or set-top boxes in

connection with the Protected Channels or the programming that comprises the Protected
Channels.

       B.      For infringement of registered works, maximum statutory damages of $150,000 per

registered work infringed under 17 U.S.C. § 504(c), or alternatively DISH’s actual damages and

the profits of Defendants that are attributable to the violations alleged herein of those registered

works pursuant to 17 U.S.C. § 504(b).

       C.      For infringement of unregistered works, an award of DISH’s actual damages and the

profits of Defendants that are attributable to the violations alleged herein of each unregistered work

pursuant to 17 U.S.C. § 504(b).
       D.      For DISH’s attorneys’ fees and costs under 17 U.S.C. § 505.

                                                  9
    Case 4:17-cv-03909 Document 1 Filed in TXSD on 12/29/17 Page 10 of 10




       E.     For impoundment and disposition of all infringing articles under 17 U.S.C. § 503.

       F.     For pre- and post-judgment interest on all monetary relief, from the earliest date

permitted by law at the maximum rate permitted by law.

       G.     For such additional relief as the Court deems just and equitable.



Dated: December 29, 2017                         Respectfully submitted,

                                                 HAGAN NOLL & BOYLE LLC

                                            By: s/ Stephen M. Ferguson
                                                Stephen M. Ferguson (attorney-in-charge)
                                                Texas Bar No. 24035248
                                                Southern District of Texas Bar No. 614706
                                                Two Memorial City Plaza
                                                820 Gessner, Suite 940
                                                Houston, Texas 77024
                                                Telephone: (713) 343-0478
                                                Facsimile: (713) 758-0146

                                                 Joseph H. Boyle (of counsel)
                                                 Texas Bar No. 24031757
                                                 Southern District of Texas Bar No. 30740

                                                 Counsel for Plaintiff DISH Network L.L.C.




                                               10
